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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         )        Civil Action No. 20-1580 (RCL)
                                                   )
 JOHN R. BOLTON,                                   )
                                                   )
                Defendant.                         )
                                                   )

      EMERGENCY APPLICATION FOR TEMPORARY RESTRAINING ORDER
             AND MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65, Plaintiff, the United States of America, by

and through its attorneys, respectfully files this Emergency Application for Temporary Restraining

Order and Motion for Preliminary Injunction (“Application”) against Defendant John R. Bolton

seeking to enjoin publication of a book containing classified information. Prior to filing this

Application, and consistent with Local Civil Rule 65.1(a), the United States contacted counsel for

Mr. Bolton, provided him notice that the United States would be filing this Application today, and

sent him copies of all papers submitted with the United States’ complaint in this action and the

materials submitted herewith (except for the classified declarations noted below).     The United

States understands the Mr. Bolton opposes the relief sought by this Application.

       The United States respectfully requests that the Court schedule a hearing on this

Application at the Court’s earliest convenience on Friday, June 19, 2020, because Mr. Bolton’s

book is scheduled to be released on Tuesday, June 23, 2020.

       In support of this Application, Plaintiff refers the Court to (1) the Complaint and relevant

attachments thereto; (2) Plaintiff’s Memorandum of Law In Support of Its Application for

Temporary Restraining Order and Preliminary Injunction, attached to this Application; (3) the
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unclassified declarations attached to this Application; and (4) the classified declarations of Michael

Ellis and William R. Evanina, which have been lodged with the Court ex parte for purposes of in

camera review. A proposed order is attached for the Court’s consideration.

 Dated: June 17, 2020                               Respectfully submitted,

                                                    JOSEPH H. HUNT
                                                    Assistant Attorney General

                                                    MICHAEL SHERWIN
                                                    Acting United States Attorney

                                                    ETHAN P. DAVIS
                                                    Principal Deputy Assistant Attorney General

                                                    DAVID M. MORRELL
                                                    Deputy Assistant Attorney General

                                                    ALEXANDER K. HAAS
                                                    Director
                                                    Federal Programs Branch

                                                            /s/ Daniel F. Van Horn
                                                     Daniel F. Van Horn (D.C. Bar. No. 924092)
                                                     Assistant United States Attorney
                                                     555 Fourth Street N.W., Room E4226,
                                                     Washington, D.C. 20530
                                                     Tel: 202-252-2506
                                                     Email: daniel.vanhorn@usdoj.gov

                                                            /s/ Michael J. Gerardi
                                                     Michael J. Gerardi (D.C. Bar No. 1017949)
                                                     Trial Attorney
                                                     United States Department of Justice
                                                     Civil Division, Federal Programs Branch
                                                     1100 L Street NW, Room 11514
                                                     Washington, D.C. 20005
                                                     Tel: (202) 616-0680
                                                     Fax: (202) 616-8460
                                                     E-mail: michael.j.gerardi@usdoj.gov

                                                     Counsel for Plaintiff




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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                      )
UNITED STATES OF AMERICA,             )
                                      )
          Plaintiff,                  )
                                      )
     v.                               )     Civil Action No. 20-1580 (RCL)
                                      )
JOHN R. BOLTON,                       )
                                      )
          Defendant.                  )
                                      )


MEMORANDUM OF LAW IN SUPPORT OF THE UNITED STATES’ APPLICATION
 FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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                                        INTRODUCTION

       A National Security Advisor to a sitting President possesses national security information

like few others. Were such a person to offer such information for sale to foreign governments, all

would readily acknowledge the wrongdoing involved. That is why, when similar risks occur from

the proposed dissemination of books, such individuals are required by contractual and fiduciary

obligations to submit their manuscripts for prepublication review and not to publish them without

having received written approval to do so. In this case, defendant John Bolton has not received

any such approval, but unilaterally has decided to abandon the prepublication review process that

he agreed to and instead plans to disseminate classified information as he sees fit in order to profit

from his book. To be clear: Defendant’s manuscript still contains classified information, as

confirmed by some of the Government’s most senior national-security and intelligence officials—

the Director of National Intelligence, the Director of the National Security Agency (“NSA”), the

Director of the National Counterintelligence and Security Center, and the National Security

Counsel’s (“NSC’s”) Senior Director for Intelligence Programs. Disclosure of the manuscript will

damage the national security of the United States. The United States asks this Court to hold

Defendant to the legal obligations he freely assumed as a condition of receiving access to classified

information and prevent the harm to national security that will result if his manuscript is published

to the world.

                                  FACTUAL BACKGROUND

       Defendant is an experienced public official, with nearly four decades of service in positions

of public trust in the United States Government. He is an attorney, having graduated from Yale

Law School, who previously served as, among other things, General Counsel and Assistant

Administrator for the U.S. Agency for International Development; Assistant Attorney General at
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the Department of Justice; Assistant Secretary and Under Secretary at the Department of State;

and as U.S. Ambassador to the United Nations. This case arises out of Defendant’s most recent

service—his appointment by the President as National Security Advisor on April 9, 2018, and his

voluntary acceptance of that appointment. Compl. ¶ 9. As National Security Advisor, Defendant

directed and supervised the work of the National Security Council staff on behalf of the President.

Defendant knew he would be privy to and responsible for safeguarding the Nation’s most sensitive

national-security matters, and that his responsibilities would entail access to sensitive classified

materials of the highest order. Compl. ¶ 21. The President entrusted this position to Defendant

and gave him access to classified information so that he could serve the Nation and carry out his

responsibilities as National Security Advisor.

A.     Defendant Assumed Statutory and Contractual Obligations Not to Disclose
       Classified Information, to Submit Manuscripts for Prepublication Review, and to
       Abide by the Results of Such Review.

       When he assumed the role of National Security Advisor, and in consideration for his

appointment and access to classified information, Defendant entered into a series of agreements

setting forth binding nondisclosure and prepublication review obligations. In particular, he

executed a Classified Information Nondisclosure Agreement, titled Standard Form 312 (“SF 312”),

and two Sensitive Compartmented Information (“SCI”) Nondisclosure Agreements, 1 each titled

Standard Form 4414 (“Form 4414”). 2 By signing the SF 312, Defendant acknowledged that “the

unauthorized disclosure . . . of classified information by me could cause damage or irreparable


1
        SCI is “[a] subset of [Classified National Intelligence] concerning or derived from
intelligence sources, methods or analytical processes that is required to be protected within formal
access control systems established by the [Director of National Intelligence].” Intelligence
Community Directive 703 (June 21, 2013), https://www.dni.gov/files/documents/ICD/
ICD%20703.pdf
2
       These agreements between Defendant and the United States are included in Exhibit A to
the Declaration of Matthias Mitman (“Mitman Decl.”).


                                                 2
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injury to the United States” and agreed “never [to] divulge classified information” without “prior

written notice of authorization from” the relevant government agency. SF 312 ¶ 3. By signing the

Form 4414, he similarly promised “never [to] divulge anything marked as SCI or that I know to

be SCI to anyone who is not authorized to receive it without prior written authorization.” Form

4414 ¶ 3. In both agreements, Defendant acknowledged the disclosure of classified information

“may constitute a violation, or violations, of United States criminal laws.” SF 312 ¶ 4; Form 4414

¶ 6. He further agreed that he would “submit for security review . . . any writing or other

preparation in any form . . . that contains or purports to contain any SCI or description of activities

that produce or relate to SCI or that I have reason to believe are derived from SCI, that I

contemplate disclosing to any person not authorized to have access to SCI or that I have prepared

for public disclosure.”    Form 4414 ¶ 4.     Defendant also committed “to make any required

submissions prior to discussing the preparation with, or showing it to, anyone who is not authorized

to have access to SCI,” and “not [to] disclose the contents of such preparation with, or show it to,

anyone who is not authorized to have access to SCI until I have received written authorization[.]”

Id.   In the event Defendant was “uncertain about the classification status of information,”

Defendant agreed that he would be “required to confirm from an authorized official that the

information is unclassified before [he could] disclose it” to an unauthorized recipient. SF 312 ¶ 3.

These obligations were reinforced in multiple post-employment memoranda. Mitman Decl., Exh.

B, Memo. From S. Gast to J. Bolton, Sept. 13, 2019; Exh. C, Letter from J. Eisenberg to J. Bolton,

Sept. 10, 2019.

        When a former NSC employee, like Defendant, submits a manuscript for prepublication

review pursuant to these obligations, the proposed publication is reviewed by the Records Access

and Information Security Management Directorate at NSC. Compl. ¶ 25. NSC staff reviews the




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submitted written work, requests removal of any classified information (or suggests edits to make

otherwise classified language unclassified), and concludes the process by providing written

authorization for the former employee to disseminate the revised materials once all classified

information has been removed. Compl. ¶¶ 26-28. NSC staff may also work with the former

employee on an iterative basis to ensure the final product is free of classified information. Compl.

¶ 27. The duration of the review can depend on many factors, such as the length of the written

work, the amount of classified information, the sensitivity of classified information included, and

how recent the information might be. Compl. ¶ 26.

B.     Defendant Wrote a Book Subject to Prepublication Review, Submitted it for
       Prepublication Review, and Did Not Receive Written Authorization to Publish the
       Book, which Continues to Contain Classified Information.

       Defendant’s service as National Security Advisor concluded on September 10, 2019.

Compl. ¶ 9. By November 9, 2019, Defendant had a book deal with publisher Simon & Schuster

for the rights to a memoir of his time in the White House. Compl. ¶ 23. Public reports suggest

that Defendant received approximately $2 million in the deal. Id. By late January 2020,

Defendant’s book was being marketed for pre-sale under the title The Room Where It Happened,

Compl. ¶ 34—in apparent reference to the song, “The Room Where It Happens,” from the hit

Broadway musical Hamilton. At the same time, the New York Times published an article that

purported to describe the contents of Defendant’s manuscript. See Compl. ¶ 35.

       Four weeks before this media surge, on December 30, 2019, counsel for Defendant initiated

the prepublication review process by submitting a hard copy of Defendant’s manuscript to Ellen

Knight, the Senior Director for Records Access and Information Security Management Directorate

at the NSC. Mitman Decl., Exh. D, Letter from C. Cooper to E. Knight, Dec. 30, 2019. Ms. Knight

is an Original Classification Authority, meaning she is “authorized to classify information in the

first instance.” Executive Order 13,526, § 6.1(gg). After conducting an initial review of the


                                                 4
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manuscript, on January 23, 2020, Ms. Knight informed Defendant, through his counsel, that the

manuscript “appears to contain significant amounts of classified information,” including

information classified at the Top Secret level. Mitman Decl., Exh. E, Letter from E. Knight to C.

Cooper, Jan. 23, 2020. Ms. Knight thus instructed Defendant that his manuscript “may not be

published or otherwise disclosed without the deletion of this classified information.” Id.

       Over the next few months, Ms. Knight worked with Defendant to review his manuscript

and to excise classified information. See Compl. ¶¶ 32-46. On multiple occasions, Defendant was

told that he would need final written approval before he could proceed with publication. 3 By April

27, Ms. Knight had completed her review and was of the view that the manuscript draft did not

contain classified information. Compl. ¶ 46; Unclassified Declaration of Michael Ellis (“Ellis

Decl.”) ¶ 9. Ms. Knight did not, however, provide Defendant with written authorization to proceed

with publishing the manuscript. See Ellis Decl. ¶ 13. To the contrary, on May 7, 2020, Ms. Knight

informed Defendant that “[t]he process remains ongoing” and that her staff would “reach out as

soon as there is an update to provide.” Mitman Decl., Exh. I, E-mail from E. Knight to J. Bolton,

May 7, 2020. This was Ms. Knight’s last communication with Defendant.

       In the meantime, after Ms. Knight’s review of the draft manuscript, the Assistant to the

President for National Security Affairs (“APNSA”) reviewed the manuscript and concluded that it

still appeared to contain classified information. Ellis Decl. ¶ 10. The APNSA asked the NSC’s



3
        Mitman Decl., Exh. F, Letter from K. Knight to C. Cooper, Feb. 7, 2020, at 1 (“In the
meantime, your client has a duty not to publish or otherwise disclose the manuscript or any of its
underlying information until he has addressed our concerns and received authorization to do so
from our office.”); Mitman Decl., Exh. G, Letter from K. Knight to C. Cooper, Feb. 24, 2020, at 2
(“Please note that the prepublication review remains in process, and your client may not publish
or further disseminate the manuscript or any of its contents until authorized.”); Id., Exh. H, E-Mail
from K. Knight to J. Bolton, Mar. 27, 2020 (“I must reiterate that the prepublication review remains
in process. Even after making the edits, you are not authorized to publish or further disseminate
the manuscript or its contents until expressly given clearance by me to do so.”).


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Senior Director for Intelligence Programs, Michael Ellis, to conduct a further review of the

manuscript and on May 2, 2020, Mr. Ellis commenced that review. Ellis Decl. ¶¶ 10-11. Like

Ms. Knight, Mr. Ellis is an Original Classification Authority. Ellis Decl. ¶ 8. Mr. Ellis completed

his initial review of the manuscript on June 9. Ellis Decl. ¶ 12. Mr. Ellis concluded that the

manuscript contains information subject to both the Standard Form 312 and the Form 4414 signed

by Defendant, and that the revisions already made to the manuscript had not removed all classified

information, including information classified at the Confidential, Secret, Top Secret, and Top

Secret/SCI levels. Ellis Decl. ¶¶ 19, 20. In Mr. Ellis’s judgment, disclosure of certain passages in

the manuscript “will damage the national security of the United States.” Ellis Decl. ¶ 22. A

description of examples of classified information that remains in the manuscript—and the basis

for Mr. Ellis’s determination that their disclosure reasonably could be expected to cause damage

to national security—appears in the classified Declaration of Michael Ellis, which will be made

available to the Court solely for in camera, ex parte review. See Classified Decl. of Michael Ellis

(lodged ex parte with the Court).

       Mr. Ellis’s conclusion is shared by other senior intelligence officials. John L. Ratcliff, the

Director of National Intelligence, has concluded “that the[] passages of the manuscript” reviewed

by Mr. Ellis “contain classified national security information” and “if made public, will damage

national security.” Decl. of John L. Ratcliff (“Ratcliff Decl.”) ¶¶ 6-7. William R. Evanina, the

Director of the National Counterintelligence and Security Center, concluded “that the information

contained in the passages I have reviewed is precisely what foreign adversaries’ intelligence

services seek to target and collect,” and “unauthorized disclosure of this information could

reasonably be expected to enable foreign threat actors to cause serious, and sometimes grave,

damage to our national and economic security.” Decl. of William R. Evanina ¶ 6; see also




                                                 6
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Classified Decl. of William R. Evanina (lodged ex parte with the Court). And Paul M. Nakasone,

the Director of the National Security Agency and a general in the U.S. Army, concluded that

disclosure of some of the classified information contained in the manuscript “could result in the

permanent loss of a valuable [signal intelligence] source and cause irreparable damage to the U.S.

[singal intelligence] system.” Decl. of Paul M. Nakasone (“Nakasone Decl.”) ¶ 8.

       Neither Ms. Knight, nor Mr. Ellis, nor any other NSC official provided written

authorization for Defendant to proceed with publication of his manuscript. See Ellis Decl. ¶ 13.

C.     Without Written Authorization and Without Notice, Defendant Submitted His Book
       to Simon & Schuster For Publication Containing Classified Material.

       The Government learned through June 7, 2020 press reports that Defendant already had

submitted his manuscript for publication and that he and Simon & Schuster were “planning to

publish even if the White House does not give publication approval.” Compl. ¶ 53; Mitman Decl.,

Exh. J, Letter from J. Eisenberg to C. Cooper, June 8, 2020. On June 8, 2020, the NSC Legal

Adviser wrote to Defendant, through Defendant’s counsel, reminding him that he was not

authorized to publish his book because it contained classified material and because he had not yet

completed prepublication review. Mitman Decl., Exh. J. The NSC Legal Adviser further indicated

that the NSC would provide Defendant with a copy of Defendant’s manuscript, with redactions

for classified information, on or before June 19, 2020. Id. Two days later, on June 10, Defendant’s

counsel informed the Government that Defendant “and his publisher, Simon & Schuster, moved

forward with publication” scheduled for June 23, 2020, and that the book had already been

“printed, bound, and shipped to distributors across the country.” Compl. ¶ 55; Mitman Decl.,

Exh. K, Letter from C. Cooper to J. Eisenberg, June 10, 2020.

       On June 11, 2020, the NSC Legal Advisor wrote to Defendant’s counsel, emphasizing that

“the manuscript still contains classified information, because, among other things, it includes



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information that he himself classified and designed for declassification only after the lapse of

twenty-five years.” Mitman Decl., Exh. L, Letter from J. Eisenberg to C. Cooper, June 11, 2020.

The Legal Advisor further reminded Defendant that he “remains under an obligation to stop the

dissemination of the manuscript, which still contains classified information that belongs to the

United States Government, the unauthorized disclosure of which could reasonably be expected to

cause serious damage to national security.” Id. This suit followed.

        On June 16, 2020 —three days in advance of the June 19 date Mr. Eisenberg had indicated

in his June 8 letter—Mr. Ellis sent Defendant a complete marked copy of the current version of

the manuscript identifying passages that he had determined, based on his initial review, appeared

to contain classified information. He offered to meet with Defendant “to discuss the removal of

classified information from the manuscript.”

                                       LEGAL STANDARD

        “To obtain a preliminary injunction, the movant must establish that: (a) it is likely to

succeed on the merits; (b) it is likely to suffer irreparable harm in the absence of preliminary relief;

(c) the balance of equities tips in its favor; and (d) an injunction is in the public interest.” Fox TV

Stations, Inc. v. FilmOn X LLC, 966 F. Supp. 2d 30, 37 (D.D.C. 2013) (citing Winter v. NRDC,

Inc., 555 U.S. 7, 20 (2008). “The D.C. Circuit has further instructed that ‘the movant has the

burden to show that all four factors . . . weigh in favor of the injunction.’” Id. (quoting Davis v.

PBGC, 571 F.3d 1288, 1292 (D.C. Cir. 2009)). 4 “The court considers the same factors in ruling

on a motion for a temporary restraining order and a motion for preliminary injunction.” Elec.


4
       The D.C. Circuit “has, in the past, followed the ‘sliding scale’ approach to evaluating
preliminary injunctions . . . . The continued viability of the sliding scale approach is highly
questionable, however, in light of the Supreme Court’s holding in Winter[.]” Singh v. Carter, 185
F. Supp. 3d 11, 16 (D.D.C. 2016) (citing In re Navy Chaplaincy, 738 F.3d 425, 428 (D.C. Cir.
2013)); see also Davis v. PBGC, 571 F.3d 1288, 1295-96 (D.C. Cir. 2009) (Kavanaugh, J.,
concurring).


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Privacy Info. Ctr. v. FTC, 844 F. Supp. 2d 98, 101 (D.D.C. 2012) (quoting Morgan Stanley DW

Inc. v. Rothe, 150 F. Supp. 2d 67, 72 (D.D.C. 2001)).

                                           ARGUMENT

I.     The Government Is Likely to Succeed on the Merits.

       The basis for preliminary relief in this matter is straightforward: Defendant, who as

National Security Advisor enjoyed access to the most sensitive information in the Government’s

possession, has decided to publish a work containing classified information without completing

prepublication review and without receiving written authorization to publish. This action is

contrary to Defendant’s fiduciary duties toward the Government, and puts Defendant in breach of

his non-disclosure agreements. Defendant assumed the obligations in these agreements as a

condition of both obtaining his employment in one of the most sensitive and important national

security positions in the United States Government and of gaining access to the highly classified

information necessary to perform his job.          These obligations are not mere bureaucratic

contrivances; indeed, Defendant acknowledged that the “unauthorized disclosure of classified

information by me may constitute a violation, or violations, of United States criminal laws.”

SF 312 ¶ 4; see also Form 4414 ¶ 6. The criminal penalties associated with unauthorized

disclosure of classified information underscore the seriousness of the Defendant’s commitments.

See, e.g., 18 U.S.C. §§ 641, 793, 794, 798, 952, 1924. Courts routinely enforce secrecy agreements

between the United States and former Government personnel who, like Defendant, have been

given access to classified information as a necessary part of their employment. The United States

is therefore likely to succeed on its request for specific performance of his contractual and fiduciary

obligations not to publish classified information without completing prepublication review and

receiving written authorization to publish.




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       A.      By Publishing Classification Information Without Written Approval After
               Completion Of Prepublication Review, Defendant Has Breached His Secrecy
               Obligations To the Federal Government.

       As one of the most senior national security officials of the United States, Compl. ¶ 7,

Defendant has a fiduciary relationship with the United States Government based on his placement

in a position of trust and special confidence. See United States v. Ring, 628 F. Supp. 2d 195, 207

(D.D.C. 2009) (recognizing that a public official acts as ‘trustee for the citizens and the State

. . . and thus owes the normal fiduciary duties of a trustee, e.g., honesty and loyalty’ to them”)

(quoting United States v. Silvano, 812 F.2d 754, 759 (1st Cir.1987)); Armenian Assembly of Am.

v. Cafesjian, 692 F. Supp. 2d 20, 43 (D.D.C. 2010) (recognizing protection of proprietary

information as among fiduciary duties). The National Security Advisor to the President has unique

access to classified information based on his position atop the NSC hierarchy, his responsibility to

make recommendations to the President regarding national security and foreign policy, and his

representation of the United States in its relations with other countries. Compl. ¶ 8. In this

capacity, Defendant was entrusted with classified and SCI information that related to some of the

most sensitive matters of national security, and Defendant owes to the United States a fiduciary

duty of loyalty to protect from unauthorized disclosure classified information. This duty of loyalty

includes his duty to submit to the United States Government for review any materials subject to

his prepublication review obligations and to refrain from the dissemination of those materials or

information unless and until the United States Government completes its prepublication review

processes and affirmatively and expressly approves disclosure. See Snepp, 544 U.S. 515 n. 11.

       At the heart of this case are the three confidentiality agreements Defendant executed to

protect the classified information to which he gained access as the National Security Advisor to

the President. While “the law would probably imply a secrecy agreement” where the information

involved is “highly sensitive to the conduct of foreign affairs and the national defense,” United


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States v. Marchetti, 466 F.2d 1309, 1316 (4th Cir. 1972), the duty of confidentiality undoubtedly

arises where there is an express agreement. The three agreements entered into by Defendant

included Classified Information Nondisclosure Agreement (a Standard Form 312 or SF 312), and

two SCI Nondisclosure Agreements (titled a Standard Form 4414 or Form 4414). See Compl. at

Exh. A (hereafter “NDAs”). Each of these NDAs was signed by Defendant at the White House in

connection with his duties as National Security Advisor to the President. Compl. ¶ 11. Defendant

reaffirmed his obligations when his employment as National Security Advisor ended,

acknowledging that he understood that he continued to be “prohibited from disclosing any

classified or confidential information,” and that he “may not use or disclose nonpublic

information,” including information that is “confidential or classified.” Mitman Decl., Exh. B; see

also Exh. C. Before Defendant signed this acknowledgment, the NSC Legal Advisor reminded

Defendant that his obligations included the submission for “security review [of] . . . any writing or

other material in any form that could contain classified information before” sharing that

information with anyone. Mitman Decl., Exh. B.

       As Defendant’s own conduct tacitly conceded, he was obligated to undertake the

prepublication review process, and the contents of Defendant’s manuscript fall within the scope of

the NDAs. See Ellis Decl. ¶¶ 19-20. The premise of Defendant’s book is that it is a “White House

Memoir” recounting information from “The Room Where it Happened,” i.e., material obtained by

Defendant in the course of his employment as National Security Advisor, where he gained access

to highly classified national security information. Compl. ¶ 34. Defendant apparently recognized

that nothing about his position, his manuscript, his contract, or his separation from Government

service exempted him from the routine obligation imposed on Government personnel to complete

pre-publication review prior to disclosures like those Defendant seeks to make, and he initiated




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the prepublication review process.     Mitman Decl., Exh. D.       Initial review of Defendant’s

manuscript identified numerous instances of classified information in various categories—so many

instances, in fact, that a single four-hour meeting proved adequate to cover only three chapters in

detail. Mitman Decl., Exh. G. In recognition of the need to revise his manuscript to protect

classified information, Defendant then made edits and submitted revised manuscripts and pages in

both March, 2020 and April, 2020. Compl. ¶ 45; Mitman Decl., Exh. H. Even after that, however,

the draft manuscript still contains classified information, including information classified at the

Secret and Top Secret/SCI levels. Ellis Decl. ¶ 19.

       All of this demonstrates that the requirement of pre-publication review applies, and in that

review, the authority to determine when review is complete rests with the Executive Branch, not

with a self-serving, unilateral judgment by Defendant to withdraw from the review process. See

Dep’t of Navy v. Egan, 484 U.S. 518, 527 (1988) (the protection of classified information “is

committed by law to the appropriate agency of the Executive Branch,” and “flows primarily from

[a] constitutional investment of power in the President”) (citing U.S. Const., Art. II, § 2);

Marchetti, 466 F.2d at 1317 (noting that burden is on the author, not the Government, to seek

judicial review of prepublication process). As explained below, Defendant’s decision to proceed

with publication of classified material before completion of this process violated his ongoing

contractual obligations to the Government.

               1.     Defendant Breached His Form 4414 Agreement by Walking Away
                      From the Pre-Publication Process Before It Was Complete

       Defendant’s actions to date, including his unilateral decision to proceed with publication

before receiving official authorization to do so, cannot be reconciled with the obligations imposed

by his Form 4414. Indeed, as the unclassified Ellis Declaration explains, even after making

changes to the manuscript, the latest manuscript contains information classified at the Top Secret/



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SCI level and is subject to the Form 4414 signed by Defendant. See Ellis Decl. ¶¶ 19-20. Under

that agreement, Defendant was required to “submit for security review” to the United States

Government “any writing or other preparation in any form, including a work of fiction, that

contains or purports to contain any SCI or description of activities that produce or relate to SCI or

that [he has] reason to believe are derived from SCI.” Form 4414 ¶ 4. He further agreed he “will

not disclose the contents of such preparation with, or show it to, anyone who is not authorized to

have access to SCI until [he had] received written authorization . . . that such disclosure is

permitted.” Id.

       Defendant is proceeding, and already has advanced substantially, on a course that defies

his obligations to complete pre-publication review of, and obtain written approval to publish, his

manuscript. As noted, Defendant tacitly acknowledged that his manuscript must be submitted for

such review by commencing and participating in an iterative process to finalize a manuscript that

did not disclose classified information. Mitman Decl., Exh. D. Defendant then decided to walk

away from that process prior to completion, and to move forward with the printing and distribution

of his book based only on edits provided to that point by the Government but without further edits

that would be required to complete the pre-publication review, including a final, written

authorization to proceed. Mitman Decl., Exh. K. This unilateral decision to disregard the final

steps in the pre-publication review process and to publish without the required approval cannot be

reconciled with Defendant’s contractual and fiduciary duties.

       Defendant’s disregard for his obligations is underscored by how abruptly he shifted from

participating in the pre-publication review process to deciding unilaterally—and without any

notice to the Government—to defy that process and to publish his book before the process was

complete. Defendant was participating in the pre-publication review process by submitting




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changes to the manuscript based on feedback from the NSC’s review. Mitman Decl., Exh. L. On

May 6, 2020—just ten days after his last submission—Defendant dispatched a follow-up inquiry

to Ms. Knight, who responded that “[t]he process remains ongoing.” Mitman Decl., Exh. I.

Defendant did not communicate further with the Government until after it had already been

reported in the press that he had decided to release the book on June 23, without completing the

review process. After the NSC Legal Advisor wrote to defendant’s counsel on June 8, Defendant

informed the NSC, through counsel, that his book had already been “printed, bound, and shipped

to distributors across the country.” Mitman Decl., Exh. K. By sharing his manuscript with his

publisher—and preparing to share it with the world—before completing prepublication review,

Defendant breached his contractual obligations to complete prepublication review.

               2.      Defendant Breached His SF 312 Agreement By Disclosing Classified
                       Information Without Prior Approval.

       Defendant has also violated his SF 312 agreement by proceeding with publication of his

book without receiving appropriate authorization. Defendant acknowledged in that agreement that

“the unauthorized disclosure . . . of classified information by me could cause damage or irreparable

injury to the United States” and agreed “never [to] divulge classified information” without “prior

written notice of authorization from” the relevant government agency. SF 312 ¶ 3. Defendant has

violated that contractual duty by proceeding with publication of his book containing classified

material without receiving written authorization. Moreover, Defendant was required “to confirm

from an authorized official that [any other] information is unclassified” before disclosing such

information whenever “[he is] uncertain about the classification status.” Id., SF 312 ¶ 3.

       Defendant has disregarded these requirements. As early as January 2020, it was reported

that he had disseminated copies of his manuscript to members of the press—a manuscript Ms.

Knight later concluded was rife with classified information, and that Defendant removed from the



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manuscript at her request. Compl. ¶¶ 35-36. And even after Defendant made changes to the

manuscript, it still contains classified information, including information classified at the

Confidential, Secret, Top Secret, and Top Secret/SCI levels. See Ellis Decl. ¶ 19. This means that

in some instances disclosure reasonably could be expected to cause serious damage, or

exceptionally grave damage, to the national security of the United States.          Id.   Defendant

nevertheless decided, on his own accord, not only again to share the manuscript with his publisher

but to authorize its printing and distribution to the public. By so doing, Defendant has violated the

obligations he accepted by signing the SF 312. Publication of the book in its current state would

constitute additional unauthorized disclosures of classified information in violation of Defendant’s

SF 312 obligations.

       B.      Courts Consistently Have Upheld, Over First Amendment Objections, the
               Government’s Right To Enforce Secrecy Agreements Like Those Defendant
               Signed

       Nothing in the First Amendment prevents the United States from securing an injunction

requiring a former high-ranking official with unique access to sensitive information, such as

Defendant, to abide by the agreements he signed. It is settled law that restrictions on the

publication of classified information are judicially enforceable. Where “a government employee

signs an agreement not to disclose information properly classified pursuant to executive order, that

employee ‘simply has no first amendment right to publish’ such information.” Wilson v. CIA, 586

F.3d 171, 183 (2d Cir. 2009) (quoting Stillman v. CIA, 319 F.3d 546, 548 (D.C. Cir. 2003)). The

Government is thus “entitled to enforce its agreements to maintain the confidentiality of classified

information,” United States v. Pappas, 94 F.3d 795, 801 (2d Cir.1996), without needing to comply

with “the same stringent standards that would apply to efforts to impose restrictions on unwilling

members of the public,” United States v. Aguilar, 515 U.S. 593, 606 (1995).




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       The seminal case in this area is Snepp v. United States, 444 U.S. 507 (1980), which

involved a former CIA agent who, in violation of his secrecy agreement, published a book about

CIA activities without first obtaining the Agency’s approval. After the book had been published,

the United States sued Snepp for breach of contract and breach of fiduciary duties. The

government secured not only the imposition of a constructive trust over all of Snepp’s profits

from the book, but also a forward-looking injunction against future unauthorized disclosures by

Snepp. See id. at 508. The Supreme Court affirmed both remedies. See id. at 514-16.

       The Supreme Court explained that a prepublication review requirement imposed on a

government employee with access to classified information is not an unconstitutional prior

restraint. See id. at 510-11. The Court found the secrecy agreement to be a “reasonable means”

for vindicating the Government’s “compelling interest in protecting both the secrecy of

information important to our national security and the appearance of confidentiality so essential

to the effective operation of our foreign intelligence service.” Id. at 509 n.3. The Court also

concluded that “[w]hether Snepp violated his trust does not depend upon whether his book

actually contained classified information.” Id. at 511. Rather, Snepp violated that trust when he

published his book without first obtaining authorization from the CIA to do so, as required by

his secrecy agreement. “When a former agent relies on his own judgment about what information

is detrimental, he may reveal information that the CIA—with its broader understanding of what

may expose classified information and confidential sources—could have identified as harmful.”

Id. at 512. The Court held that, because Snepp “deliberately and surreptitiously violated his

obligation to submit all material for prepublication review,” id. at 511, a constructive trust over

his book’s proceeds would appropriately “require[] him to disgorge the benefits of his

faithlessness.” Id. at 515.




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      Even before Snepp, the Fourth Circuit upheld the validity and enforceability of secrecy

agreements in United States v. Marchetti, 466 F.2d 1309 (4th Cir. 1972). In Marchetti, as in

Snepp and the instant case, the United States sued a former employee to enforce a secrecy

agreement; the United States sought to prevent Marchetti from publishing a book about his

intelligence experiences in the CIA. Id. at 1311. The court held that the United States could

properly require Marchetti to submit all intelligence-related materials intended for publication

for prepublication review to protect classified information. Id. at 1313-17. The court further

held that there was no First Amendment problem with the secrecy agreements, because Marchetti

could seek judicial review of any action by the CIA disapproving publication of the material.

Id.; see also United States v. Snepp, 897 F.2d 138, 143 (4th Cir. 1990) (confirming that the

burden is on the author to seek judicial review of any agency decision not to approve

publication).

      Consistent with these authorities, courts regularly have upheld the validity of secrecy

agreements in the face of First Amendment challenges. In Stillman v. CIA, for example, a former

employee of the Los Alamos National Laboratories sought to publish a book about China’s

nuclear weapons program and challenged the delay on publication imposed by pre-publication

review, as well as determinations by various agencies that portions of his manuscript were

classified. See 517 F. Supp. 2d 32, 34 (D.D.C. 2007) (“Stillman II”). In rejecting Stillman’s

First Amendment challenge, this Court explained that “[c]ourts have uniformly held that current

and former government employees have no First Amendment right to publish properly classified

information to which they gain access by virtue of their employment.” Id. at 38. The D.C.

Circuit, in earlier proceedings in Stillman, had reached the same conclusion: “If the Government

classified the information properly, then Stillman simply has no first amendment right to publish




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    it.” Stillman v. CIA, 319 F.3d 546, 548 (D.C. Cir. 2003) (“Stillman I”) (reversing district court’s

    preliminary order granting Stillman’s counsel access to the manuscript and remanding for further

    proceedings). Relying on Snepp, this Court granted judgment to the Government, emphasizing

    that “the government’s ability to maintain secrecy is essential and [recognizing] that the

    government is in the best position to judge the harm that would result from disclosure.” Stillman

    II, 517 F. Supp. 2d at 39.

          Likewise, in McGehee v. Casey, a former CIA officer brought a declaratory judgment

action, before publication, challenging “an agreement that on its face bar[red] him from revealing

classified information without prior . . . approval.” This Court denied relief, and the D.C. Circuit

affirmed. 718 F.2d 1137, 1139 (D.C. Cir. 1983). The D.C. Circuit reasoned that the “classification

and censorship scheme,” including the requirement of pre-publication review, “protects critical

national interests” and “satisf[ies] the applicable constitutional tests.” Id. The court further added

that, even though the CIA officer had “adhered to his secrecy agreement[,] submitted his

manuscript for prepublication review, and deleted portions” of it in accordance with Government

instructions, he was not entitled to declassification of portions of a magazine article he published

that the CIA had determined to be classified, because affidavits gave the court “reason to believe

that disclosure of the censored portions of McGehee’s article could reasonably be expected to

cause serious damage to the national security.” Id. at 1149-50. 5


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       In dicta, the court noted that the CIA had “not sought an injunction against publication of
the censored items” and stated that if the CIA had sought “judicial action to restrain publication,
it would [have borne] a much heavier burden.” McGehee, 718 F.2d at 1147 n. 22 (citing, e.g.,
Snepp, 444 U.S. at 513 n. 8, and N.Y. Times Co. v. United States, 403 U.S. 713, 714 (1971) (per
curiam)). But the cited language in Snepp does not support this assertion. Indeed, the cited portion
of Snepp cited to two cases, which include language that, if anything, undermines the notion that
the government would bear a heavier burden where it—rather than the author—sought relief. See
Alfred A. Knopf, Inc. v. Colby, 509 F.2d 1362 (4th Cir. 1975) (“We decline to modify our previous
holding that the First Amendment is no[] bar against an injunction forbidding the disclosure of



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       It follows from these decisions that there is no First Amendment bar to enforcement of

Defendant’s secrecy agreements here. The Government is seeking, as it has done in the past, to

enforce the terms of its NDAs regarding classified information executed by Defendant when he

joined the Government as National Security Advisor. Defendant willingly accepted the terms of

these NDAs in consideration for his access to this information, and there is no valid constitutional

objection to the Government seeking relief under their terms.

       C.      Defendant Lacks Any Valid Defenses, Contractual or Otherwise, to
               Enforcement of His Secrecy Obligations.

       To date, Defendant has refused to accept that he is in breach of his obligations to the

Government. In a June 10, 2020 letter from his counsel, he asserts that he has substantially

complied with the prepublication review requirement and that, in light of his purported “substantial

compliance” and supposed assurances from Ms. Knight, he should be excused from the remainder

of his fiduciary and contractual obligations. Mitman Decl., Exh. K. Neither this argument, nor

any other effort to defend his about-face on pre-publication review, can justify his unilateral

decision to print and distribute copies of his book without prior written authorization.

       At the outset, the express terms of the NDAs make clear that Defendant has not

“substantially compl[ied]” with his obligations by submitting his manuscript and engaging with

the Government for a time; rather, the NDAs required full compliance. Defendant is expressly

required to obtain express and “written notice of authorization” before making a disclosure of



classifiable information within the guidelines of the Executive Orders when (1) the classified
information was acquired, during the course of his employment, by an employee of a United States
agency or department in which such information is handled and (2) its disclosure would violate a
solemn agreement made by the employee at the commencement of his employment. With respect
to such information, by his execution of the secrecy agreement and his entry into the confidential
employment relationship, he effectively relinquished his First Amendment rights.”); United States
v. Marchetti, 466 F.2d 1309 (4th Cir. 1972) (granting the United States’ request for injunction
against future publication in violation of secrecy agreement).


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classified information. SF 312 ¶ 3; see also Form 4414 ¶ 4. He never received such notice. Even

though Ms. Knight had completed her review in April and was of the view that the manuscript did

not contain classified information, Compl. ¶ 46; Ellis Decl. ¶ 9, Ms. Knight did not authorize Mr.

Bolton to proceed with publication, and instead informed him that “[t]he process remain[ed]

ongoing,” Mitman Decl., Exh. I. That process involved an additional classification review by Mr.

Ellis, who concluded that the manuscript, even as revised, contained classified material, including

information classified at the Confidential, Secret, Top Secret, and Top Secret/SCI levels. In other

words, as Mr. Ellis explains, the manuscript, even as revised, contains instances of information

that, if disclosed, reasonably could be expected to cause serious damage, or exceptionally grave

damage, to the national security of the United States—and, indeed, Mr. Ellis concluded that

disclosure of “certain passages in the draft manuscript … will damage the national security of the

United States.” See Ellis Decl. ¶¶ 19, 22. The conclusion that the draft still contains classified

information is shared by Mr. Ratcliffe, Mr. Evanina, and Gen. Nakasone. Ratcliffe Decl. ¶ 7;

Evanina Decl. ¶¶ 6-7; Nakasone Decl. ¶ 8. Mr. Bolton’s decision nevertheless to proceed with the

publication of a book containing such material is a breach of his contractual and fiduciary duties.

       Nor does Mr. Bolton have a First Amendment right to publish classified information that

would allow him to sidestep the breach of his contractual duties. As previously discussed, the

legal obligations he freely assumed—namely, his obligation to obtain authorization before

publishing classified information—is fully in accord with constitutional requirements, as the

Supreme Court and the D.C. Circuit have confirmed. See Snepp, 444 U.S. at 509 n.3; McGehee,

718 F.2d at 1139. Where “a government employee signs an agreement not to disclose information

properly classified pursuant to executive order, that employee ‘simply has no first amendment

right to publish’ such information.” Wilson v. CIA, 586 F.3d 171, 183 (2d Cir. 2009) (quoting




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Stillman v. CIA, 319 F.3d 546, 548 (D.C. Cir. 2003)). Defendant signed three such agreements in

this case. He affirmatively agreed that he “will never divulge classified information to anyone

unless: (a) [he has] officially verified that the recipient has been properly authorized by the United

States Government to receive it; or (b) [he has] been given prior written notice of authorization

from the United States Government Department . . . that such disclosure is permitted.” SF 312

¶ 3. And he twice agreed to “submit for security review” “any writing . . . that contains or purports

to contain any SCI or description of activities that produce or relate to SCI or that I have reason to

believe are derived from SCI . . . that I have prepared for public disclosure” and “further agree[d]

that I will not disclose the contents of such preparation with, or show it to, anyone who is not

authorized to have access to SCI until I have received written authorization from the Department

or Agency that last authorized my access to SCI until I have received written authorization . . . that

such disclosure is permitted.” Form 4414 ¶ 4. Defendant further attested his understanding that

“the United States Government may seek any remedy available to it to enforce this Agreement,

including, but not limited to, application for a court order prohibiting disclosure of information in

breach of this Agreement.” SF 312 ¶ 6; see also Form 4414 ¶ 7 (same).

       Accordingly, even assuming that the First Amendment applies in the context of a former

high-ranking government employee disclosing classified information without authorization after

completion of prepublication review, any such rights would be waived by the agreements that

Defendant entered into. Waiver of a constitutional right must be knowing and voluntary. Cf.

Johnson v. Zerbst, 304 U.S. 458, 464 (1938). There can be no suggestion that Defendant, a Yale-

trained attorney and sophisticated public official with decades of experience in positions of trust

within the Federal Government, did not know and understand these obligations. Indeed, the text

of Defendant’s security agreements make clear that he could not release such material absent




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written confirmation at the end of the prepublication review process. These provisions also

provide that the United States would and could seek to enforce these agreements via a court order

preventing disclosure, see SF 312 ¶ 6; Form 4414 ¶ 7, contract terms that would be superfluous if

they did not constitute an acknowledgement that those very proceedings were proper. See Veit &

Co. v. United States, 46 Fed. Cl. 30, 35 (2003) (“The Court is to attempt to avoid an interpretation

that leaves a portion of the contract useless, inexplicable, inoperative, void, insignificant,

meaningless, superfluous, or achieves a weird and whimsical results.”) (citation and internal

quotation marks omitted). Nor can Defendant claim that such provisions constitute a prior

restraint, as courts have recognized that such prepublication review, as here, “is not . . . a ‘system

of prior restraints’ in the classic sense.” Edgar v. Coats, No. GJH-19-985, 2020 WL 1890509, at

*19 (D. Md. Apr. 16, 2020) (quoting Wilson v. CIA, 586 F.3d 171, 183 (2d Cir. 2009), and

additionally citing McGehee v. Casey, 718 F.2d 1137, 1147-48 (D.C. Cir. 1983)) appeal docketed

No. 20-1568 (4th Cir.). Defendant should be held to the obligations of his bargain.

       Moreover, to the extent Defendant contends he has a constitutional right to publish his

book in its current form, the proper course would have been to complete the prepublication review

or to seek judicial review of any alleged denial or undue delay of permission to publish. Indeed,

case law makes clear that it is the author’s burden to seek judicial review of the Government’s

denial or delay of permission to publish. See Snepp, 897 F.2d at 143; Marchetti, 466 F.2d at 1317.

What is not Defendant’s right is to decide for the Executive Branch—indeed, for the entire

nation—that sufficient edits have been made and thereby usurp the Government’s proper role in

determining whether a manuscript contains classified information.

II.    The United States Will Be Irreparably Harmed Without an Injunction.

       The United States will be irreparably injured absent preliminary relief.            The book

Defendant intends to publish on June 23 contains classified information, including information


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classified at the Confidential, Secret, Top Secret, and Top Secret/SCI levels. This means it

contains instances of information that, if disclosed, reasonably could be expected to cause serious

damage, or exceptionally grave damage, to the national security of the United States. See Ellis

Decl. ¶ 19. And Mr. Ellis specifically concluded, moreover, that “certain passages in the draft

manuscript . . ., if disclosed, will damage the national security of the United States.” Ellis Decl.

¶ 22; see also Ratcliffe Decl. ¶¶ 6-7; Evanina Decl. ¶ 6; Nakasone Decl. ¶ 8. The rights that the

United States contracted for to protect national security—including the right to prepublication

review of writings that Defendant might disseminate with sensitive information—will be severely

undermined, if not entirely lost, if Defendant is not enjoined from further disseminating this

information. See Snepp, 444 U.S. at 513 (“both the District Court and the Court of Appeals

recognized that Snepp’s breach of his explicit obligation to submit his material—classified or

not—for prepublication clearance has irreparably harmed the United States Government.”); cf.

Providence Journal v. FBI, 595 F.2d 889, 890 (1st Cir. 1979) (“Once the documents are

surrendered pursuant to the lower court’s order, confidentiality will be lost for all time. The status

quo could never be restored.”); In re Papandreou, 139 F.3d 247, 251 (D.C. Cir. 1998) (“Disclosure

followed by appeal after final judgment is obviously not adequate in such cases [where privilege

is claimed over information] – the cat is out of the bag.”); John Doe Agency v. John Doe Corp.,

488 U.S. 1306, 1309 (1989) (Marshall, J., in chambers) (disclosure of materials pending a stay

would create an irreparable injury). Only by completing the review process can the Government

ensure that any personal benefits Defendant hopes to reap from this writing will not come at the

expense of the national security.

       Courts routinely grant equitable relief to prevent the public release of confidential

information of all sorts on the ground that such public disclosure necessarily constitutes irreparable




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harm given that the confidentiality of information, once lost, can never be restored. For example,

courts will stay pending appeal orders to the Government to release documents, on the ground that

the public disclosure of information constitutes irreparable harm. See Providence Journal, 595

F.2d at 890 (granting stay of disclosure pending final appeal, as “denial of a stay will utterly

destroy the status quo”); Dep’t of Health & Human Servs. v. Alley, 556 U.S. 1149 (2009) (ordering

stay of district court’s order that directed agency to disclose records to plaintiff pending final

disposition of appeal); People for the Am. Way Found. v. U.S. Dep’t of Educ., 518 F. Supp. 2d

174, 177 (D.D.C. 2007) (stay necessary “to avoid irreparable injury [to the government] by having

to release documents prior to having the opportunity to seek meaningful appellate review”). While

the forced disclosure of non-public information alone may constitute irreparable harm, that harm

is heightened where classified information is involved. Unlike ordinary confidential information

the Government holds, the information at stake here is classified, including in some instances at

the Secret or Top Secret/SCI levels, which means by definition that its disclosure reasonably could

be expected to cause serious damage, or exceptionally grave damage, to the national security of

the United States. Ellis Decl. ¶ 19. And, in Mr. Ellis’s judgment, certain passages, if disclosed,

“will damage the national security of the United States.” Ellis Decl. ¶ 22; see also Ratcliffe Decl.

¶¶ 6–7; Evanina Decl. ¶ 6; Nakasone Decl. ¶ 8.

       This is not surprising. When an official leaks classified information to the world it can

cause serious damage to the United States’ relationships with foreign powers or endanger future

military and intelligence activities by revealing U.S. intelligence capabilities or gaps in those

capabilities. And, as common sense suggests, “it is practically impossible to remedy the damage

of an unauthorized disclosure [of classified information] ex post.” United States v. Bin Laden, 58

F. Supp. 2d 113, 122 (S.D.N.Y. 1999); see also Snepp, 444 U.S. at 514; United States v. Hashmi,




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621 F. Supp. 2d 76, 83 (S.D.N.Y. 2008) (“The Government has a strong interest in preventing the

irreparable harm of disclosing classified information, which might jeopardize national security.”).

Defendant knows well the threat posed by disclosing classified information that might benefit the

Nation’s adversaries. See John Bolton, “Edward Snowden’s leaks are a grave threat to US national

security,” The Guardian, https://www.theguardian.com/commentisfree/2013/jun/18/edward-

snowden-leaks-grave-threat (June 18, 2013). Congress does as well, as reflected in its decision to

criminalize the unauthorized disclosure of classified information. See, e.g., 18 U.S.C. §§ 641, 793,

794, 798, 952, 1924.

III.   The Balance of Equities and Public Interest Factors Also Weigh In Favor of an
       Injunction

       “The final two factors in the Court’s analysis of a request for preliminary relief [are] the

balance of equities and the public interest.” U.S. Ass’n of Reptile Keepers, Inc. v. Jewell, 103 F.

Supp. 3d 133, 163 (D.D.C. 2015). These two factors “merge” in cases where one of the parties is

the Government. Cf. Nken v. Holder, 556 U.S. 418, 435 (2009). This is particularly true in the

context of the possible disclosure of classified information, where the public interest is served by

ensuring that classified information vital to our nation’s security is protected from either

intentional or inadvertent disclosure.

       In evaluating the equities, the Court is to “balance the competing claims of injury and . . .

consider the effect on each party of the granting or withholding of the requested relief.” Winter,

555 U.S. at 24 (internal quotation marks omitted). Here, the effect on the national security, the

responsibility for which is entrusted to the Government, is immense: the manuscript—even as

revised—contains instances of information that, if disclosed, reasonably could be expected to

cause serious damage, or exceptionally grave damage, to the national security of the United

States—and Mr. Ellis concluded that release of certain passages “will damage the national security



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of the United States.” See Ellis Decl. ¶¶ 19, 22; see also Ratcliffe Decl. ¶¶ 6-7; Evanina Decl. ¶ 6;

Nakasone Decl. ¶ 8. As discussed above, see supra Part II, this kind of harm is not reversible or

remediable once it occurs. In balancing the equities, the Court must “pay particular regard for

the[se] public consequences” Winter, 555 U.S. at 7. In contrast, any harm to Defendant is merely

a delay of the publication of his book for the duration of the preliminary injunction (i.e., until the

Court can render a decision on the merits of the claims raised by the United States), or until

Defendants removes the remaining classified information from the manuscript. In fact, that delay

need only encompass the time required to complete the very pre-publication review process that

Defendant voluntarily commenced. And any concern Defendant raises about the effect of an

injunction on his ability to speak is diminished, if not altogether eliminated, by the fact that

Defendant voluntarily agreed to condition his right to speak on securing a determination from the

Government that what he wanted to say would not reveal the classified information he was sworn

to protect.    Defendant’s interest in disregarding that agreement does not outweigh the

government’s substantial interest in adhering to it. At bottom, any delay is simply the consequence

of Defendant’s voluntary decision to accept a position of confidence and trust as National Security

Advisor to the President and to agree to the contractual obligations attendant to that position.

       Permitting the final resolution of the instant dispute will further the Government’s interest

and the broader public interest in the observance of proper procedures to control national security

information and reduce the possibility of serious damage to the national security. As against an

interim delay in Defendant’s ability to reap the financial rewards from trading on the confidential

information he learned in his position of public trust, the merged public-interest and balance-of-

equities prongs overwhelmingly favor the requested injunction.




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IV.    The Injunction Should Provide Full Relief to the United States

       For the reasons discussed above, the United States is entitled to an injunction barring

Defendant from publishing the book. To ensure that the injunction cannot be circumvented, the

injunction should also prohibit the Defendant from proceeding with the publication of his book in

any form or media; require Defendant to notify his publisher that the book contains classified

information that he was not authorized to disclose; instruct his publisher to delay the release date

of the book; and to instruct his publisher to take any and all available steps to retrieve and destroy

any copies of the book that may be in the possession of any third party. The Court should further

enjoin Defendant from taking any additional steps towards publicly disclosing classified

information without first obtaining authorization from the United States through the prepublication

review process.

       Furthermore, if this Court enjoins Defendant from distributing his book until he receives

written authorization after the conclusion of the government’s prepublication review, then that

injunction should also bind his publisher, Simon & Schuster.

       Under Federal Rule of Civil Procedure 65(d)(2), an injunction binds not only “the parties”

but also their “officers, agents, servants, employees, and attorneys,” and all “other persons who

are in active concert or participation with” them and who have “actual notice” of the injunction.

This rule “is derived from the common law doctrine that a decree of injunction not only binds the

parties defendant but also those identified with them in interest, in ‘privity’ with them, represented

by them or subject to their control.” Regal Knitwear Co. v. NLRB, 324 U.S. 9, 14 (1945). It

provides, “[i]n essence[,] . . . that defendants may not nullify a decree by carrying out prohibited

acts through aiders and abettors, although they were not parties to the original proceeding.” Id.;

see also Marshak v. Treadwell, 595 F.3d 478, 486 (3d Cir. 2009) (“non-parties ‘guilty of aiding or




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abetting or acting in concert with a named defendant or his privy in violating the injunction ....

may be held in contempt.’” ” (quoting Savarese v. Agriss, 883 F.2d 1194, 1209 (3d Cir. 1989))).

       Under these principles, when the producer of a product is enjoined from distributing it,

courts have subjected the product’s distributors to the same injunction. For example, in Aevoe

Corp. v. AE Tech Co., 727 F.3d 1375 (Fed. Cir. 2013), the Federal Circuit explained that the

distributor of an infringing product—which obtained the product from the infringing producer and

sold it in the marketplace—was “‘acting in concert’ with [the producer] in connection with the

resale of” the product and thus was bound by an injunction against the sale of the product. Id. at

1384. “Failure to enjoin” the distributor’s conduct, the court explained, “would thwart the

purposes of that injunction.” Id.; see also, e.g., CBS, Inc. v. PrimeTime 24 Joint Venture, 9 F.

Supp. 2d 1333, 1325 (S.D. Fla. 1998) (distributors were bound by an injunction because, “[i]f the

injunction did not apply to [them], the injunction would be effectively nullified”). That basic

principle of federal remedies applies equally where the product at issue is a book, because the Free

Speech Clause does not entitle book sellers to special exemptions from the application of general,

speech-neutral laws such as Rule 65. See Arcara v. Cloud Books, Inc., 478 U.S. 697, 707 (1986)

(“[T]he First Amendment is not implicated by the enforcement of a public health regulation of

general application against the physical premises in which respondents happen to sell books.”);

see also Branzburg v. Hayes, 408 U.S. 665, 682-83 (1972) (“[O]therwise valid laws serving

substantial public interests may be enforced against the press as against others, despite the possible

burden that may be imposed.”); cf. Bartnicki v. Vopper, 532 U.S. 514, 526-27 (2001) (applying

First Amendment scrutiny to suit against recipient of unlawfully obtained information under a

statute that specifically regulated the disclosure and use of such information and thus was not

speech-neutral, although it was content-neutral in certain applications).




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       These principles subject Simon & Schuster to any injunction against Defendant’s

distribution of his book. As in Aevoe, Simon & Schuster is the exclusive commercial distributor

of Defendant’s book and obtained the book exclusively from him. Defendant can properly be

enjoined from unlawfully disseminating the book to the public, see supra pp. 23–26, and he

therefore cannot be permitted to circumvent that injunction by unlawfully delivering the

manuscript to Simon & Schuster before an injunction is entered—indeed, before press reports even

revealed that he and Simon & Schuster intended to release the book prior to the completion of the

prepublication review process. 6



                                           *    *   *




6
       Commercial resellers further down the distribution chain, such as booksellers, likewise
would be subject to the injunction under Rule 65(d) once they have actual notice of it, as Simon &
Schuster does.


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                                       CONCLUSION

       For the foregoing reasons, the Court should grant the motion for a temporary restraining

order and preliminary injunction. A proposed order accompanies this motion.

 Dated: June 17, 2020                           Respectfully submitted,

                                                JOSEPH H. HUNT
                                                Assistant Attorney General

                                                MICHAEL SHERWIN
                                                Acting United States Attorney

                                                ETHAN P. DAVIS
                                                Principal Deputy Assistant Attorney General

                                                DAVID M. MORRELL
                                                Deputy Assistant Attorney General

                                                ALEXANDER K. HAAS
                                                Director
                                                Federal Programs Branch

                                                          /s/ Daniel F. Van Horn
                                                   Daniel F. Van Horn (D.C. Bar. No. 924092)
                                                   Assistant United States Attorney
                                                   555 Fourth Street N.W., Room E4226,
                                                   Washington, D.C. 20530
                                                   Tel: 202-252-2506
                                                   Email: daniel.vanhorn@usdoj.gov

                                                          /s/ Michael J. Gerardi
                                                   Michael J. Gerardi (D.C. Bar No. 1017949)
                                                   Trial Attorney
                                                   United States Department of Justice
                                                   Civil Division, Federal Programs Branch
                                                   1100 L Street NW, Room 11514
                                                   Washington, D.C. 20005
                                                   Tel: (202) 616-0680
                                                   Fax: (202) 616-8460
                                                   E-mail: michael.j.gerardi@usdoj.gov

                                                   Counsel for Plaintiff




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             Exhibit
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                         CLASSIFIED iNFORMATION NONDISCLOSURE-AGREEMENT                                                 —




 AN AGREEMENT BETWEEN                                     John Robed Bolton                  AND THE UNITED.STATES
                                                (Name of IrsrfMdual Printed or typed)
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 I Intending to- be legally bound I hereby accept the obligations contained in this   eernen-ironsideiation of my being granted
 access to dassifled information As used in this Agreement, dassifled information is made[cr unmarked dassifled infornatjon
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 statute that p ohtIts the unauthorized disclosure of information in the nteresf of nationá arid unclassified infomiation that
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 1 4(e) of Execufive Order 13526 or under any other Executive order or statute that requTpection icr such Information in the
 interest of naIiànal security I understand and accept that by being granted access f dflT’1fomtaticn special contidence arid
 frust all be placed In me-bythe.United States Government:

 2. I hereby acknowledge that I have received a security indoctrination concerning the nature ancLprotection of classified Inforniation,
 induding the procedutes to be foIlod in ascertaining whether other persons to whom I contempLate disclosing this information have
 been approved for access to it, and thlI understand these procedures.

 3.1 have, been advised that the unauthorized .disosure, unauthorized reten on, or negligent handling of classified information by me
 could cause damage or irreparable mjury to the United States or cored be used to advantage by a foreign nation I hereby agree that I
 wfll never.divulge classified Inform ationtà anyone unless: (a) I have officially verified thatthé recipient has been property uthôrized by
 the United States Government to receive it, or (b) I have been given prior written notice of authorization from the United States
 Government Department or Agency (hereinafter Department or Agency) responsible for the classification of information or last granting
 me a security clearance that such disclosure is psmiitted understand thai Lf I am uncertain about the classification status of
 information I am required to confirm from an authorized official that the informaflon is unclassified before I may disclose it except to a
 person as provided in (a) or (b) above I further understand that I am obligated to compty with laws and regulations that prohibit the
 unauthorized disclosure of classified information                                             —




 4 I have been advised That any breach of this Agreement may result ri the termination of any security clearances I hold removal from
 any position of special confidence and trust requiring such clearances ortermiriation of my employment or other relationships with the
 Departments or Agencies that granted my security clearance or clearances In addition I have been advised that any unauthorized
 disclosure of classified information by me may constitute a violation or violations of United States criminal laws including the
 provisionsof sections 641, 793, 794, 798, ‘952 and 1924, title 18, United States Cede; ‘the provisions of section 783(b), title 50,
 United States Code and the provisions of the Intelligence Identities Protection Act of 1982 I recognize that nothirig in this Agreement
 constitut a walver by the United States of the iight to prosecUte me for any-statutory violation.
5. 1 herebyassign to the United States Government all royalties, remunerations, arid emolumentsthat have res(itted, will result or may
result from any disclosure, Publication, or revelation of classified information riotóônsisteht with the terms of this Agreement
6. I understand that the United States Government may seek any remedyavaIable to it to enfor ethis Agreement including, but not
limited to1 application for acourtorder prohibiting disclosure of information in breach of this Agreement.

7 I understand that afl classified information to Which I have access or may obtain access by signing this Agreement Is now arid will
remain the property of or under the control of the United States Government unless and until otherwise determined by an authorized
official or final wfing of a court of law I agree that I shall return all classified materials which have or may come Into my possession or
for which I sin responsible because of such access (a) upon demand by an authonzjpresentative of the United States
Government (b upon the conclusion of my employment or other relationship with the De rii or Agency that last granted me a
security clearance or-that provided me access to classified information or (c) upn tlie conclusion of my employment or other
relationship that req,urres access to classified information If I do not return such materials upon raiest, 1 understand that this may be
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8 Unless end untiii released in writing by an authorized representative of tije U1t Government I understand that all
conditions and óbllällons imposed upon me by this Agreement apply dunng the te I aib granted access to classified information,
and at all time&theröér,                                                                      -




9 Each p Stoi’ofHI,s Agreement is severable tta court should find any provslanifthA.jiuont to be unenforceable all other
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10. These provi&ons are consistent with and do not supersede, conflict with, ortherwise-atterthe employee obllgations,.nights, or
liabilities created by existing statute or Bxecutive order relating to (1) classified information (2) communications to Congress (3) the
reporting to an Inspector General of a violation of any law rule or regulation or rritsmanagement,-a gross waste of funds, an abuse of
authority or a substantial and specific danger to public health or safety or (4) any other whistleblower protection The definitions
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Ii. These restrictions are orisistent With and do not supersede, conflict with, or therwlae afl the mployee obhgations, rights, or
liabilities cieated by Executive OrderNo. 13526 (75 Fed. Reg. 707), or any successor thereto sectlon 7211 of title5, United States
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 12.hdve read this Agreement carefully and my questlons, if any, have been answered. I acknowledge
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BY THE UNDERSIGNED.                                                            ON BEHALF OF ThE UNED STATE GOVERNMENTS
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Carl L. Kline    V

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725l7thStreet,NW                                                               7Z5l7thSfreet,NW
Washington, DC 20503                                                           Washington, DC 20503




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                                            SECURITY DEBRIEFING ACKNOWLEDGEMENT-
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being granted access to classified information.
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              Exhibit
                G
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              Exhibit
                H
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              Exhibit
                I
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              Exhibit
                J
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              Exhibit
                K
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                L
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              Exhibit
                M
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )
                                                    )
        v.                                          )        Civil Action No. 20-1580 (RCL)
                                                    )
 JOHN R. BOLTON,                                    )
                                                    )
                Defendant.                          )
                                                    )

                                     [PROPOSED] ORDER

       It is hereby ORDERED that the United States’ Motion for a [Temporary Restraining Order]

[Preliminary Injunction] is GRANTED. It is FURTHER ORDERED that:

       Defendant is enjoined from proceeding with the publication of his book in any form or

media without first obtaining written authorization from the United States through the

prepublication review process;

       Defendant is required to ensure that his publisher and resellers receive notice that the book

contains classified information that he was not authorized to disclose;

       Defendant is required to instruct his publisher to delay the release date of the book pending

the completion of the prepublication review process and authorization from the United States that

no classified information remains in the book;

       Defendant is required to instruct his publisher to take any and all available steps to retrieve

and destroy any copies of the book that may be in the possession of any third party;

       Defendant is further enjoined from taking any additional steps toward public disclosing

classified information without first obtaining authorization from the United States through the

prepublication review process;
        Case 1:20-cv-01580-RCL Document 3-19 Filed 06/17/20 Page 2 of 2




       Defendant is required to ensure that his publisher and resellers receive notice of this Order;

and

       This injunction binds Defendant, along with his “officers, agents, servants, employees, and

attorneys,” and “all other persons who are in active concert or participation with” him, if they

receive actual notice of the order, Fed. R. Civ. P. 65(d)(2), including Defendant’s publisher, Simon

& Schuster, and other such persons in the commercial distribution chain of Defendant’s book.



SO ORDERED:



DATE:___________________                             _______________________________
                                                     ROYCE C. LAMBERTH
                                                     United States District Judge




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